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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:
                                                     Chapter 11
1 Global Capital LLC, et al.,                        Case No. 18-19121-RAM
       Debtors.                                      (Jointly Administered)
______________________________/

1 Global Capital LLC,                                Adv. Case No. 19-01771-RAM

         Plaintiff,
v.

 Surface Quest, LLC and Jean Ah
 Munroe,

      Defendants.
 ______________________________/

                                  CERTIFCATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Amended Omnibus Order

Resetting Pretrial Conferences was served on November 5, 2019 via U.S. Mail upon all parties

listed on the attached Service List.

         Dated: November 5, 2019                     PERLMAN, BAJANDAS, YEVOLI &
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                                                     Possession
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